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         Sberbank to buy out almost 95% of Krasnaya Polyana shares
         16:02 06.06.2013                                                           Читати українською                                                       Russia

         The Federal Antimonopoly Service has permitted Sberbank structures to bring their share at OJSC Krasnaya
         Polyana up to almost 95%.

         Now the state bank may become virtually the only owner of the company, building the sports and tourism complex Mountain Carousel
         in Sochi.

         The list of the current largest shareholders of Krasnaya Polyana includes Sberbank structures, which own 50.03% of the company, as well
         the Russneft President Mikhail Gutseriyev. He has purchased 42% of company shares from ex-Chairman of the Board of Northern
         Caucasus Resorts Ahmed Bilalov.

         Ex-Chairman of the Board of OJSC Northern Caucasus Resorts and ex-VP of the Olympic Committee Ahmed Bilalov, deprived of all
         offices, has been living in the UK for the month already.

         The audit of Bilalov activities started after Russian President Vladimir Putin had criticized the process of construction of the Olympic
         facility «Gorky Gorod» in Sochi, Yugopolis reports.

                                                                                                                                          English translation by BSN


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